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                                                                               BORREGO COMMUNITY HEALTH
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                                                                            12 FOUNDATION
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                                                                            13                       UNITED STATES DISTRICT COURT
                                                                            14                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                            15
                                                                            16 BORREGO COMMUNITY HEALTH                     Case No. 3:21-cv-01417-L-AGS
                                                                               FOUNDATION, a California nonprofit
                                                                            17 public benefit corporation,                  Hon. Anthony J. Battaglia,
                                                                            18                                              Courtroom 4A
                                                                                            Plaintiff,
                                                                            19                                              REPLY TO OPPOSITION OF DRP
                                                                                     vs.                                    HOLDINGS, INLAND VALLEY
                                                                            20                                              INVESTMENTS, LLC, AND
                                                                               INLAND VALLEY INVESTMENTS,                   PROMENADE SQUARE, LLC TO
                                                                            21 LLC, a California limited liability          MOTION FOR LEAVE TO AMEND
                                                                            22 company; DRP HOLDINGS, LLC, a                COMPLAINT
                                                                               California limited liability company;
                                                                            23 PROMENADE SQUARE, LLC, a                     Date: April 6, 2023
                                                                               California limited liability company;        Time: 2:00 P.M.
                                                                            24 and DOES 1-50, inclusive,                    Ctrm.: 4A
                                                                            25
                                                                                            Defendants.                      Trial Date:    None Set
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                                                                                                                                             Case No. 3:21-cv-01417-L-AGS
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                                                                             1 I.         INTRODUCTION
                                                                             2            Defendants, Inland Valley Investments, LLC, DRP Holdings, LLC, and
                                                                             3 Promenade Square, LLC (collectively the “Priest LLCs”) vehemently oppose
                                                                             4 Borrego Community Health Foundation’s (“Borrego Health”) request to litigate two
                                                                             5 matters where one action is a subpart of, and fully subsumed within, the other.
                                                                             6 Given the overall efficiency such a request offers, it begs the question of why the
                                                                             7 Priest LLCs seem so opposed. With minimal examination, then answer is clear: the
                                                                             8 Priest LLCs do not want the Court to consider the full scope of the RICO schemes at
                                                                             9 issue when evaluating the pending motion to dismiss. This is because having all
                                                                            10 relevant facts on display demonstrates a clear pattern and practice of misconduct by
                                                                            11 the Priest LLCs, their owner Daryl Priest, other Priest-owned entities, and their
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                                                                            12 respective agents (among others).
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                                                                            13            As a practical matter, Borrego Health seeks to litigate the above-captioned
                                                                            14 action (the “Lease Scheme Litigation”) and Borrego Community Health Foundation
                                                                            15 v. Karen Hebets, et al., Case No. 3:22-cv-01056-AJB-AGS (the “Multi-Scheme
                                                                            16 Litigation”) as one action.1 The two matters are both before the Honorable Anthony
                                                                            17 Battaglia and have already been deemed related by this Court due to the fact that the
                                                                            18 Lease Scheme Litigation and the Multi-Scheme Litigation appeared to: (1) “ arise
                                                                            19 from the same or substantially identical transactions, happenings or events”; (2)
                                                                            20 “involve the same or substantially the same parties or property”; (3) “call for a
                                                                            21 determination of the same or substantially identical questions of law”; and (4)
                                                                            22 “entail unnecessary duplication of labor if heard by different judges.” (Multi-
                                                                            23 Scheme Litigation ECF No. 10.) The Lease Scheme Litigation is merely a
                                                                            24 component of the Multi-Scheme Litigation, and as such, judicial economy and
                                                                            25 efficiency would be best served by proceeding as a single case.
                                                                            26   1
                                                                                As indicated in Borrego Health’s moving papers, Borrego Health welcomes
                                                                            27 another alternative to effectively litigate the two actions should the Court believe an
                                                                            28 alternative mechanism would better promote judicial efficiency and economy.
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                                                                             1 II.        PROCEDURAL HISTORY/FACTUAL BACKGROUND
                                                                             2            While the full scope of the procedural history has been outlined in both these
                                                                             3 moving papers and the pending Motion for Leave to Amend in the Multi-Scheme
                                                                             4 Litigation (see Multi-Scheme Litigation ECF No. 123; Lease Scheme Litigation ECF
                                                                             5 No. 36), a brief summary of the factual allegations in the Lease Scheme Litigation
                                                                             6 and the Multi-Scheme Litigation is included below for the Court’s convenience.
                                                                             7            The Lease Scheme Litigation (this action) brings claims against three entities,
                                                                             8 Inland Valley Investments, LLC, DRP Holdings, LLC, and Promenade Square, LLC
                                                                             9 (collectively the “Priest LLCs”). Borrego Health understands that all three defendants
                                                                            10 are solely owned and managed by Daryl Priest. (See Lease Scheme Litigation
                                                                            11 Proposed Fourth Amended Complaint ¶¶ 340-343; Multi-Scheme Litigation
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                                                                            12 Proposed First Amended Complaint ¶¶ 338-341.) Borrego Health further asserts that
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                                                                            13 Travis Lyon, an experienced commercial real estate development and management
                                                                            14 executive, acted alongside Daryl Priest to coordinate and arrange the commercial
                                                                            15 leases at issue in this action. (See Lease Scheme Litigation Proposed Fourth
                                                                            16 Amended Complaint ¶¶ 340-343; Multi-Scheme Litigation Proposed First Amended
                                                                            17 Complaint ¶¶ 338-341.) The Priest LLCs, through the actions of Daryl Priest, Travis
                                                                            18 Lyon and others, concealed the above-fair market value of the relevant leases, and
                                                                            19 went directly to Bruce Hebets, Mikia Wallis, Diana Thompson, and possibly others (a
                                                                            20 subset of the group defined in the proposed complaint as the “Borrego Insiders”) to
                                                                            21 avoid review by the full Borrego Health Board prior to entering into the three leases.2
                                                                            22
                                                                            23   2
                                                                                   The Proposed Fourth Amended Complaint has subsequently removed reference to
                                                                            24   the prior personal friendship between Bruce Hebets and Daryl Priest, as Borrego
                                                                                 Health’s investigation have provided further clarity regarding their relationship.
                                                                            25   Despite the Priest LLC’s representations, this lack of close personal friendship has
                                                                            26   no bearing on Borrego Health’s RICO claims. (Oppo. 13:9-15.) As alleged in the
                                                                                 Proposed Fourth Amended Complaint, it appears that Bruce Hebets worked
                                                                            27   alongside the Borrego Insiders, the Priest LLCs, and the Premier Defendants
                                                                            28   (among others) to establish multiple schemes which would allow them to receive
                                                                                                                               6                 Case No. 3:21-cv-01417-L-AGS
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                                                                             1 As a result of Daryl Priest and Travis Lyon’s conduct, in conjunction with several
                                                                             2 Borrego Insiders, Borrego Health entered into several leases which, in total,
                                                                             3 requirement payments of $58 million above fair market rent. (Lease Scheme
                                                                             4 Litigation Proposed Fourth Amended Complaint ¶¶ 335-352; Multi-Scheme
                                                                             5 Litigation Proposed First Amended Complaint ¶¶ 335-352.) The full scope of the
                                                                             6 Lease Scheme (referred to as the “Priest Leases Scheme” in both proposed
                                                                             7 complaints), is found in paragraphs 335-352 of both the Proposed Fourth Amended
                                                                             8 Complaint in this action, and the Proposed First Amended Complaint in the Multi-
                                                                             9 Scheme Litigation. Also attached to the Proposed Fourth Amended Complaint are the
                                                                            10 relevant leases between Borrego Health and the Priest LLCs.
                                                                            11        As shown by the proposed amended complaints, the allegations pertaining to
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                                                                            12 these leases are merely one scheme amidst a larger conspiracy. The Multi-Scheme
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                                                                            13 Litigation includes allegations of several additional schemes in which Daryl Priest,
                                                                            14 Travis Lyon, and other related defendants acted to conceal other fraudulent business
                                                                            15 ventures at the expense of Borrego Health. These schemes include Daryl Priest, his
                                                                            16 son Nicholas Priest, and Travis Lyon creating healthcare consulting companies
                                                                            17 Premier Healthcare Management Company and Summit Healthcare Management,
                                                                            18 Inc. (collectively the “Premier Defendants”) without any prior healthcare experience.
                                                                            19 (Lease Scheme Litigation Proposed Fourth Amended Complaint ¶¶ 25-27; Multi-
                                                                            20 Scheme Litigation Proposed First Amended Complaint ¶¶ 25-27.) The “Premier
                                                                            21 Defendants” then entered into several agreements in which they would receive $25/
                                                                            22 for every claim that was processed. (Lease Scheme Litigation Proposed Fourth
                                                                            23 Amended Complaint ¶¶ 95-97; Multi-Scheme Litigation Proposed First Amended
                                                                            24 Complaint ¶¶ 95-97.) Because the Premier Defendants were paid per claim, they
                                                                            25 encouraged Dental Defendants to submit duplicative and fraudulent bills, and/or
                                                                            26
                                                                            27 above-market compensation, rent payments and other forms of remuneration in
                                                                            28 order to enhance their own personal profit.
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                                                                             1 failed to appropriately review and screen the claims which were submitted to them.
                                                                             2 (Lease Scheme Litigation Proposed Fourth Amended Complaint ¶ 102; Multi-
                                                                             3 Scheme Litigation Proposed First Amended Complaint ¶ 102.) For each
                                                                             4 unsubstantiated, duplicate and/or fraudulent claim, the Premier Defendants were
                                                                             5 improperly paid. (Id.) The allegations within the Multi-Scheme Litigation establish a
                                                                             6 clear picture of an ongoing pattern of misconduct by these defendants in both actions.
                                                                             7            Given that this action is merely a subset of the Multi-Scheme Litigation,
                                                                             8 Borrego Health anticipates a complete overlap in future motion practice and
                                                                             9 discovery, as well as a complete overlap in determination of questions of law. As
                                                                            10 such, Borrego Health has moved to obtain leave to amend the complaint in this action
                                                                            11 to effectively merge the Lease Scheme Litigation and the Multi-Scheme Litigation.3
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                                                                            12 III.       THE MOTION SEEKS TO EFFICIENTLY LITIGATE THE LEASE
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                                                                            13            SCHEME LITIGATION AND MULTI-SCHEME LITIGATION, AS
                                                                            14            THE FORMER IS FULLY SUBSUMED WITHIN THE LATTER
                                                                            15            A.     Borrego Health’s Motion is Procedurally Proper
                                                                            16            The Priest LLCs first attempt to argue that the pending motion should be
                                                                            17 dismissed because of supposed procedural defects. (See Opposition at 6:17-8:17.)
                                                                            18   3
                                                                                   As the merits of their arguments fail, the Priest LLCs repeatedly try to offer
                                                                            19   nefarious implications underlying Borrego Health conduct without any factual
                                                                            20   support. For example, in fn. 26, the Priest LLCs state: “It is worth noting here that
                                                                                 BCHF has again chosen its words carefully regarding the future of the Hebets case if
                                                                            21   the Court grants this Motion. (Mot., 7:24 – 8:3.) BCHF observes that the two suits
                                                                            22   would be “entirely duplicative . . . allowing the [Hebets case] to be dismissed.” (Id.
                                                                                 at 8:2-3.) This is not the same as simply saying that BCHF will dismiss the Hebets
                                                                            23   case. The Court should be suspicious of this strategic use of passive voice.” Should
                                                                            24   such relief be granted, Borrego Health anticipates this Court will order for the
                                                                                 dismissal of the Multi-Scheme Litigation once all defendants have been properly
                                                                            25   served with notice of the merged actions. It offered a solution in passive voice to
                                                                            26   account for the fact that this Court may deem another method of consolidation
                                                                                 appropriate in lieu of the requested relief. Arguments such as these further highlight
                                                                            27   the Priest LLC’s intent to use distraction tactics in an attempt deter the Court from
                                                                            28   making practical decisions on how to efficiently manage the two matters.
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                                                                             1 As an initial matter, the Ninth Circuit has adopted the policy that matters should be
                                                                             2 determined on their merits “whenever reasonably possible,” not on procedural
                                                                             3 technicalities. Hahn v. City of Carlsbad, No. 15-CV-2007, 2016 WL 7637682, at *1
                                                                             4 (S.D. Cal. July 26, 2016); see also Neev v. Abbott Med. Optics Inc., No.
                                                                             5 SACV1501992, 2017 WL 11628868, at *3 (C.D. Cal. Apr. 3, 2017); Larson v.
                                                                             6 Iboshi, 441 F. App’x 511, 514 (9th Cir. 2011). While Borrego Health contends there
                                                                             7 are no procedural defects in its pending motion, on this basis alone, any procedural
                                                                             8 defects cannot form the basis for denying the pending motion.
                                                                             9            As mentioned in the moving papers, the proposed amendment is a complete
                                                                            10 departure from the Third Amended Complaint. Therefore, the offered “redline” (as
                                                                            11 required by Local Rule 15) shows the entire proposed amendment as new text
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                                                                            12 (shown in blue) and the entire Third Amended Complaint as deleted text (shown in
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                                                                            13 red strikethrough). This is compliant with Local Rule 15 which requires that a
                                                                            14 version of the proposed amendment be attached which shows “how that pleading
                                                                            15 differs from the previously dismissed pleading.” (L.R. 15.1(b).) Yet, Borrego
                                                                            16 Health acknowledges that this redline, while compliant, is not particularly useful.
                                                                            17 According, Borrego Health explained the differences in its moving papers. Should
                                                                            18 defendants or the Court require further information, the nature of the Third
                                                                            19 Amended Complaint has been incorporated into paragraphs 23-28, and 335-359 of
                                                                            20 the Proposed Fourth Amended Complaint.4 Also attached are the same lease
                                                                            21 agreements and amendments found attached to the Third Amended Complaint.
                                                                            22            The Priest LLCs also take issue with the timing of the amendment. (See Opp.
                                                                            23 7:13-18.) Yet, the timing is entirely due to the amount of time it took to discover,
                                                                            24
                                                                            25   4
                                                                                The Priest LLCs assert that several factual allegations from the Third Amended
                                                                            26 Complaint have been deleted or amended, which indicates that the Priest LLCs have
                                                                               been able to review and effectively note the differences between the two complaints.
                                                                            27 (See Oppo. 7:23-8:2.) As such, the presentation of the produced redline has not
                                                                            28 impacted the Priest LLC’s ability to evaluate the allegations against them.
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                                                                             1 investigate and unravel the misconduct the Priest LLCs, the Premier Defendants and
                                                                             2 others, which they have (until recently) intentionally and successfully concealed.
                                                                             3 This is in addition to the reasonable time Borrego Health required to research and
                                                                             4 draft this Motion and the Proposed Fourth Amended Complaint. As is outlined in
                                                                             5 the Third Amended Complaint in this proceeding, the Department of Health Care
                                                                             6 Services (“DHCS”) conducted raids of Borrego Health facilities in October 2020,
                                                                             7 which led to ongoing investigations regarding the Priest LLC leases and other
                                                                             8 contracts between Borrego Health and Priest-owned entities. (Lease Scheme
                                                                             9 Litigation Third Amended Complaint ¶¶ 27-28.) The Priest LLCs apparently attempt
                                                                            10 to assert that Borrego Health should have discovered all of the misconduct that is the
                                                                            11 subject of this case at once. What the Priest LLCs fail to appreciate is that discovery
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                                                                            12 of their concealed misconduct has been an incremental, ongoing process. Due to the
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                                                                            13 complexity of the schemes hatched by the Priest LLCs, the Premier Defendants and
                                                                            14 others in the Multi-Scheme Litigation (including the Lease Scheme), and the
                                                                            15 significant efforts the defendants took to conceal their misconduct, Borrego Health
                                                                            16 has been involved in ongoing investigations to uncover the full scope of the
                                                                            17 defendants’ misdeeds. The Priest LLCs and the Premier Defendants cannot be
                                                                            18 permitted to use the wide scope, complexity and concealment of their own
                                                                            19 misconduct as the basis their opposition here. The simple fact is that Borrego
                                                                            20 Health has filed its pleadings, and sought to amend them, as additional information
                                                                            21 has been discovered.
                                                                            22         Relatedly, the Priest LLCs in their Opposition repeatedly complain that
                                                                            23 Hooper, Lundy & Bookman, P.C.—newly substituted counsel of record for Borrego
                                                                            24 Health in this matter—cannot be deemed “new” because Borrego Health has been a
                                                                            25 firm client since 2018. (See Oppo. 6:20-25, 7:12-18, 18:5.) This argument attempts
                                                                            26 to distract the Court away from the core issue motivating Borrego Health’s
                                                                            27 motion—that with identical issues and identical counsel of record, litigative and
                                                                            28 judicial efficiency would be best served by merging the actions.
                                                                                                                         10                  Case No. 3:21-cv-01417-L-AGS
                                                                                 REPLY TO OPPOSITION OF DRP HOLDINGS, INLAND VALLEY INVESTMENTS, LLC, AND PROMENADE
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                                                                             1            Regarding the form of the requested relief, the Priest LLC’s assert that
                                                                             2 Borrego Health seeks to improperly bring forward a Motion to Consolidate. (See
                                                                             3 Oppo. 8:3-17.) As Borrego Health openly acknowledges in its moving papers5, it
                                                                             4 seeks to litigate the Lease Scheme Litigation and the Multi-Scheme Litigation as
                                                                             5 efficiently and expeditiously as possible. With the same counsel now representing
                                                                             6 Borrego Health and all Priest-related defendants (the Priest LLCs in the Lease
                                                                             7 Scheme Litigation, and the Premier Defendants in the Multi-Scheme Litigation),
                                                                             8 now more than ever does it make sense to merge the actions into one case.
                                                                             9            While atypical, Borrego Health seeks leave to amend over consolidation for a
                                                                            10 particular purpose—because consolidation does not address full merging the two
                                                                            11 actions. Federal Courts, including the Ninth Circuit, have interpreted that
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                                                                            12 consolidation under Federal Rules of Civil Procedure (“F.R.C.P.”), Rule 42 does not
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                                                                            13 merge two actions. Rather, each action retains its separate traits, and the parties in
                                                                            14 one action do not become parties to the other action merely by deeming the matters
                                                                            15 consolidated. See J.G. Link & Co. v. Continental Cas. Co., 470 F.2d 1133, 1138 (9th
                                                                            16 Cir. 1972); see also Enter. Bank v. Saettele, 21 F.3d 233, 236 (8th Cir. 1994)
                                                                            17 (“…consolidation, when proper, does not merge [] two separate lawsuits”), relying
                                                                            18 on Johnson v. Manhattan Ry. Co., 289 U.S. 479, 496–97 (1933).
                                                                            19            Here, Borrego Health did not file a Motion to Consolidate under F.R.C.P.
                                                                            20 Rule 42, because it does not seek to consolidate the actions under Rule 42—it seeks
                                                                            21 to merge them. And while functionally the matters would be consolidated in the
                                                                            22 layperson understanding of the word, the legal ramifications differ from the
                                                                            23
                                                                                 5
                                                                            24     The Priest LLC’s Opposition asserts that Borrego Health has attempted to disguise
                                                                                 a motion to consolidate through its moving papers. (See Oppo. 8:5.) As discussed
                                                                            25   herein, Borrego Health has been very explicit and intentional in its requested relief,
                                                                            26   and has openly explained that it seeks to merge the Lease Scheme Litigation with
                                                                                 the Multi-Scheme Litigation. The Ninth Circuit does not provide for the requested
                                                                            27   relief under Rule 42, and as such, a different motion has been presented to the Court
                                                                            28   for consideration.
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                                                                             1 requested relief sought. As such, Borrego Health brought this pending motion in the
                                                                             2 hopes of effectively merging the two actions to avoid duplication of litigation.6
                                                                             3            B.     Borrego Health’s Motion is Substantively Sufficient
                                                                             4            The Priest LLCs argue that Borrego Health’s Motion for Leave to Amend
                                                                             5 should be denied, as it fails to address the deficiencies mentioned in this Court’s
                                                                             6 Order regarding the Priest LLC’s Motion to Dismiss Borrego Health’s Second
                                                                             7 Amended Complaint. (See Oppo. 9:1-24.)7
                                                                             8
                                                                                 6
                                                                                 The Priest LLCs also seem assert that Borrego Health could have merely added the
                                                                             9 Priest LLCs as named defendants in the Multi-Scheme Litigation when it originally
                                                                            10 filed its Complaint in that action. (See Oppo. 6:6-9.) However, such a solution is
                                                                               barred, as plaintiff’s cannot file two identical actions against the same defendants
                                                                            11 for the same conduct. As such, merely adding the three Priest LLC defendants into
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                                                                            12 the Multi-Scheme Litigation would not address Borrego Health’s request to avoid
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                                                                               duplicative litigation.
                                                                            13
                                                                               7
                                                                                 The Priest LLCs further argue that the proposed amendment is substantively
                                                                            14
                                                                               deficient in that Borrego Health has “repeatedly fail[ed] to cure deficiencies” in the
                                                                            15 complaint. (Oppo. 9:1-4.) However, the Court has only evaluated the merits of
                                                                            16 Borrego Health’s complaint once before. (Lease Scheme Litigation ECF No. 15.)
                                                                               After filing its original Complaint in state Court, Borrego Health promptly filed its
                                                                            17 First Amended Complaint in order to remedy a filing error in the lease attachments.
                                                                            18 (Borrego Community Health Foundation v. Inland Valley Investments LLC, Case
                                                                               No. 37-2021-00024676-CU-FR-CTL, ROA # 8.) Borrego Health then obtained a
                                                                            19 Joint Stipulation with the Priest LLCs in order to file its Second Amended
                                                                            20 Complaint (Id. at ROA # 14.) The Second Amended Complaint added the
                                                                               allegations regarding the RICO schemes, which prompted the Priest LLCs to
                                                                            21 remove the action to federal court. (Id. at ROA #16.) This Court evaluated the
                                                                            22 allegations of Borrego Health’s complaint for the first time when it issued an Order
                                                                               related to the Priest LLC’s Motion to Dismiss Borrego Health’s Second Amended
                                                                            23 Complaint. (Lease Scheme Litigation ECF No. 15.) The Court has not yet made any
                                                                            24 determinations regarding Borrego Health’s Third Amended Complaint. In essence,
                                                                               the Priest LLCs argue that this Motion should be denied, in part, because Borrego
                                                                            25 Health remedied a missing attachment to the complaint when the matter was before
                                                                            26 the state court. Again, as matters should be determined on their merits whenever
                                                                               reasonably possible, such an argument does not form a proper basis for denying the
                                                                            27 requested amendment. See Hahn v. City of Carlsbad, No. 15-CV-2007, 2016 WL
                                                                            28 7637682, at *1 (S.D. Cal. July 26, 2016).
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                                                                             1         While the overarching purpose for the pending motion seeks to efficiently
                                                                             2 litigate the Lease Scheme Litigation and the Multi-Scheme Litigation, the proposed
                                                                             3 amendment also addresses all of the concerns previously raised by this Court when
                                                                             4 evaluating Borrego Health’s Second Amended Complaint. (See Lease Scheme
                                                                             5 Litigation ECF No. 15.) The Court, in evaluating the allegations in the Second
                                                                             6 Amended Complaint, indicated that allegations of “conduct or participat[ion]” and
                                                                             7 “racketeering activity” were absent from the complaint. (Id. 3:6-4:7.)
                                                                             8         The proposed Fourth Amended Complaint adds hundreds of allegations which
                                                                             9 demonstrate the Priest LLCs involvement in the greater RICO schemes and provide
                                                                            10 a significant amount of detail related to the racketeering activity that occurred within
                                                                            11 the enterprise. (See Lease Scheme Litigation Proposed Fourth Amended Complaint
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                                                                            12 ¶¶ 66-131, 335-359.)
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                                                                            13         The Court’s Order regarding the Second Amended Complaint further
                                                                            14 indicates that the applicable statute of limitations period, as alleged in that iteration
                                                                            15 of the complaint, indicates harm upon the date the leases were executed as no
                                                                            16 allegations of fraudulent concealment were alleged which would permit equitable
                                                                            17 tolling. (See Lease Scheme Litigation ECF No. 15, 5:9-10.) However, among other
                                                                            18 things, the Proposed Fourth Amended Complaint details the efforts in which the
                                                                            19 defendants attempted to conceal their misconduct from the full Borrego Health
                                                                            20 Board. (See Lease Scheme Litigation Proposed Fourth Amended Complaint ¶¶ 336,
                                                                            21 349.)
                                                                            22 IV.     THE FOMAN FACTORS DO NOT PRECLUDE THE COURT FROM
                                                                            23         GRANTING BORREGO HEALTH’S MOTION
                                                                            24         As mentioned in Borrego Health’s moving papers, “[a] motion for leave to
                                                                            25 amend should be granted unless there has been a showing that to permit the
                                                                            26 amendment would produce an undue delay in the litigation, that the motion was
                                                                            27 brought in bad faith or out of dilatory motive, that the movant has repeatedly failed
                                                                            28 to cure deficiencies in the complaint by previous amendments, that the proposed
                                                                                                                          13                Case No. 3:21-cv-01417-L-AGS
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                                                                             1 amendment would unduly prejudice an opposing party, or that the proposed
                                                                             2 amendment would result in futility for lack of merit.” Oregon Natural Desert Ass’n
                                                                             3 v. McDaniel, 751 F. Supp. 2d 1151, 1155 (D. Or. 2011); see Foman v. Davis, 371
                                                                             4 U.S. 178, 182 (1962).
                                                                             5        The Opposition focuses on Borrego Health’s alleged delay in filing the
                                                                             6 pending Motion. However, that is not a factor under Foman. Foman focuses on
                                                                             7 whether the proposed amendment would cause undue delay to the litigation. As both
                                                                             8 matters are awaiting a decision from the Court regarding whether the complaints can
                                                                             9 be amended, no such delay is present. Further, as explained in its moving papers and
                                                                            10 herein, Borrego Health’s investigation has been ongoing in discovering concealed
                                                                            11 misconduct by the defendants in each action. Borrego Health filed its original
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                                                                            12 complaint in the Multi-Scheme Litigation in July 2022, once it discovered
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                                                                            13 substantial evidence demonstrating the alleged schemes. The briefing in the Lease
                                                                            14 Scheme Litigation was submitted months before the filing of the Multi-Scheme
                                                                            15 Litigation. As such, Borrego Health was still unaware of much of the information
                                                                            16 alleged in the Multi-Scheme Litigation when it filed its Opposition to Priest LLC’s
                                                                            17 Motion to Dismiss the Third Amended Complaint.
                                                                            18        As outlined above, this Court has only evaluated the merits of the Complaint
                                                                            19 once before. Further, the proposed amendment addresses all of the concerns
                                                                            20 previously raised in this Court’s order. As such, the Priest LLCs “futility” and
                                                                            21 “repeated failure to cure deficiencies” arguments fail. Further, there would be no
                                                                            22 undue delay in granting the motion. Both the Lease Scheme Litigation and the
                                                                            23 Multi-Scheme Litigation are at the pleading stages and neither have commenced
                                                                            24 discovery. No written discovery requests have been exchanged and no depositions
                                                                            25 have been taken. By granting the pending motion, the Priest LLCs and Premier
                                                                            26 Defendants will only need to file one motion to dismiss the operative complaint,
                                                                            27 which they have already indicated they plan to do regardless of any potential
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                                                                                                                          14                 Case No. 3:21-cv-01417-L-AGS
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                                                                             1 amendment. Practically, both actions merging does not impact the current timeline
                                                                             2 of the litigation for either action given that both matters are still in their infancy.
                                                                             3         Nor did Borrego Health act in bad faith or dilatory motive in filing the
                                                                             4 pending motion. As explained above, consolidating the actions under F.R.C.P. Rule
                                                                             5 42 would not offer the form of relief which Borrego Health seeks—a merging of the
                                                                             6 two cases. In light of the overlapping counsel for both parties in both matters, and
                                                                             7 before the culmination of discovery, now is the appropriate time to make such a
                                                                             8 request to minimize potential disruption later in the matters.
                                                                             9         Further, neither defendants in the Lease Scheme Litigation nor the Multi-
                                                                            10 Scheme Litigation are prejudiced by the requested relief. The defendants in the
                                                                            11 Multi-Scheme Litigation are already on notice of the misconduct alleged against
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                                                                            12 each defendant, and have been put on notice of the Lease Scheme Litigation as the
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                                                                            13 scheme itself is fully alleged in the Multi-Scheme Litigation (indeed, as stated
                                                                            14 above, the Lease Scheme is a subpart of, and fully subsumed in, the Multi-Scheme
                                                                            15 Litigation). Both matters are before the same judge, and both actions have already
                                                                            16 been deemed related by the Court as they appear to: (1) “ arise from the same or
                                                                            17 substantially identical transactions, happenings or events”; (2) “involve the same or
                                                                            18 substantially the same parties or property”; (3) “call for a determination of the same
                                                                            19 or substantially identical questions of law”; and (4) “entail unnecessary duplication
                                                                            20 of labor if heard by different judges.” (Multi-Scheme Litigation ECF No. 10.)
                                                                            21         If the actions are merged, the defendants in the Multi-Scheme Litigation will
                                                                            22 continue to defend against the same allegations, file the same motions in the same
                                                                            23 department before the same judge, make the same discovery requests, and proceed
                                                                            24 with the same settlement negotiations. The only impact merger may have on the
                                                                            25 defendants is that the parties will need to update the caption.
                                                                            26         Further, the merging of the two actions does not prejudice the Priest LLCs.
                                                                            27 Instead of requesting the same discovery in both actions, requests only need to be
                                                                            28 made once. Instead of filing two motions to dismiss or two motions for summary
                                                                                                                        15                  Case No. 3:21-cv-01417-L-AGS
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                                                                             1 judgment, only one motion would be necessary. Instead of two hearings before the
                                                                             2 court on the same issues, there will only be one. In terms of overall cost and
                                                                             3 efficiency, the Priest LLCs are not harmed by merging the two actions. The Priest
                                                                             4 LLCs attempt to assert that having to litigate against “irrelevant allegations against
                                                                             5 dozens of unrelated defendants” is prejudicial because the “dentists [have] no
                                                                             6 commercial connection to the current landlord Defendants.” (Oppo.9:15-17; 23:1,
                                                                             7 emphasis added.) The Priest LLC’s include the seemingly innocuous word
                                                                             8 “commercial” because without that word (and perhaps even with it) the statement is
                                                                             9 untrue. This is a blatant attempt to distance themselves from the fact that they, by
                                                                            10 and through their owners and operators, orchestrated and participated in a multitude
                                                                            11 of interconnected fraudulent schemes to the detriment of Borrego Health. Indeed,
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                                                                            12 the Multi-Scheme Litigation highlights just how interconnected the defendants are
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                                                                            13 to the various schemes. The facts of the Lease Scheme Litigation are already alleged
                                                                            14 a Multi-Scheme Litigation. Daryl Priest, the owner of the Priest LLCs, and Travis
                                                                            15 Lyon, the individual that orchestrated the above-fair market leases, must already
                                                                            16 defend against the Lease Scheme Litigation in both actions. The Multi-Scheme
                                                                            17 Litigation merely addresses the Court’s prior concerns regarding the
                                                                            18 interconnectivity of the racketeering actions taken by the defendants. As merely
                                                                            19 being forced to litigate the merits of an action does not constitute prejudice, the
                                                                            20 Priest LLCs arguments fail.8 TCI Grp. Life Ins. Plan v. Knoebber, 244 F.3d 691, 701
                                                                            21 (9th Cir. 2001), overruled in part on other grounds.
                                                                            22            Further, there is no prejudice as it pertains to the timing of the pending
                                                                            23 motion. The Court issued an order on March 7, 2022 offering Borrego Health the
                                                                            24   8
                                                                                  The Priest LLCs further request that they be awarded attorneys’ fees for the filing
                                                                            25   of their Motions to Dismiss. This identical argument was raised by the Priest-owned
                                                                            26   entities in the Multi-Scheme Litigation. Borrego Health incorporates by reference all
                                                                                 arguments from its Reply to its Motion for Leave to Amend in the Multi-Scheme
                                                                            27   Litigation which explain why such a request should be denied. (Multi-Scheme
                                                                            28   Litigation ECF No. 134.)
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                                                                             1 opportunity to amend its complaint. On March 22, 2022, Borrego Health filed its
                                                                             2 Third Amended Complaint. The Priest LLCs filed their Motion to Dismiss Borrego
                                                                             3 Health’s Third Amended Complaint on April 5, 2022, and the briefing for the
                                                                             4 motion was completed on May 2, 2022. The matter has sat pending since May 2022
                                                                             5 while awaiting resolution of that motion. As such, this Motion does not impact any
                                                                             6 pending filings or actions by the Priest LLCs. Since the DHCS raids in October of
                                                                             7 2020, Borrego Health has conducted ongoing investigations which continue to
                                                                             8 reveal the broader scope of misconduct committed by the Priest-owned entities in
                                                                             9 both the Lease Scheme Litigation and the Multi-Scheme Litigation. This Motion
                                                                            10 merely seeks to merge two actions which outline the full scope of currently
                                                                            11 discovered evidence against the Priest LLCs and the Priest-owned entities.
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                                                                            12 V.      THE PRACTICAL RAMIFICATIONS OF DENYING THE MOTION
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                                                                            13         ARE SIGNIFICANT DUPLICATION OF WORK PENDING A
                                                                            14         MOTION TO CONSOLIDATE
                                                                            15         If the pending Motion for Leave to Amend is denied, both actions will litigate
                                                                            16 duplicative issues. First, the Court will need to evaluate the pending Motion to
                                                                            17 Dismiss the Third Amended Complaint with the knowledge that Borrego Health has
                                                                            18 hundreds of allegations in which it can (and will) provide via amendment. If granted
                                                                            19 leave to amend, as the Priest LLCs imply in their opposition that they intend to file
                                                                            20 yet another motion to dismiss. As the Priest-owned entities in the Multi-Scheme
                                                                            21 Litigation have already filed a motion to dismiss, the Court would then be
                                                                            22 evaluating two identical motions to dismiss which attack identical allegations
                                                                            23 pertaining to the relevant leases and related schemes.
                                                                            24         Practically, the parties will seek the same information in discovery to
                                                                            25 determine the scope and nature of the racketeering activity alleged, and any future
                                                                            26 motions by the Priest-owned entities will likely be filed in both actions in light of
                                                                            27 the fact the Lease Scheme Litigation is merely a subset of the Multi-Scheme
                                                                            28 Litigation.
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                                                                             1         Once the issues have been further evaluated, Borrego Health could file a
                                                                             2 Motion to Consolidate, but again, both actions would retain their separate nature, so
                                                                             3 there would still be two independent actions with identical overlapping issues.
                                                                             4         Ultimately, this action will need to be merged or consolidated in some
                                                                             5 capacity. Delay in doing so merely duplicates work from both the parties and the
                                                                             6 Court until such a determination is made. Borrego Health seeks such relief now in
                                                                             7 advance of substantive motion practice and discovery.
                                                                             8 VI.     THERE IS A PRESUMPTION IN FAVOR OF GRANTING
                                                                             9         AMENDMENT
                                                                            10         As outlined in Borrego Health’s moving papers, there is a “presumption under
                                                                            11 Rule 15(a) in favor of granting leave to amend.” See Eminence Capital, LLC v.
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                                                                            12 Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). This policy favoring amendment
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                                                                            13 is to be applied with “extreme liberality.” Sonoma Cty. Ass'n of Retired Emps. v.
                                                                            14 Sonoma Cty., 708 F.3d 1109, 1117 (9th Cir. 2013). Because federal policy favors “a
                                                                            15 proper decision on the merits” and “just . . . determination of every action,” leave to
                                                                            16 amend the pleadings is freely given. Foman v. Davis, 371 U.S. 178, 182 (1962).
                                                                            17         Even the Foman court supports this position: “…outright refusal to grant the
                                                                            18 leave without any justifying reason appearing for the denial is not an exercise of
                                                                            19 discretion; it is merely abuse of that discretion and inconsistent with the spirit of the
                                                                            20 Federal Rules.” Foman v. Davis, 371 U.S. 178, 182 (1962). Here, Borrego Health
                                                                            21 seeks amendment to incorporate recently discovered evidence to address the Court’s
                                                                            22 prior concerns regarding the RICO allegations in the Second Amended Complaint.
                                                                            23 Borrego Health has provided a comprehensive complaint which thoroughly alleges
                                                                            24 the interconnected conduct between the defendants, as well as the scope of the
                                                                            25 racketeering activity across multiple scheme. Given policy of liberally granting
                                                                            26 amendment, as well as the general public policy of determining cases on their
                                                                            27 merits, Borrego Health requests its Motion for Leave to Amend be granted.
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                                                                             1 VII. CONCLUSION
                                                                             2        For the above-mentioned reasons, Borrego Health respectfully requests that
                                                                             3 its Motion for Leave to Amend be granted, or in the alternative, that this Court
                                                                             4 schedule a joint status conference in both matters to determine how best to
                                                                             5 coordinate the two actions.
                                                                             6
                                                                             7 DATED: January 20, 2023               HOOPER, LUNDY & BOOKMAN, P.C.

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                                                                             9
                                                                                                                     By:
                                                                            10
                                                                                                                                 DEVIN M. SENELICK
                                                                            11                                       Attorneys for Plaintiff Borrego Community
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